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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 18-CR-20758-Cooke
UNITED STATES OF AMERICA
vs.
MANUEL ANTONION BALDIZON MENDEZ,

Defendant.
/

 

STIPULATED FACTUAL PROFFER IN SUPPORT OF PLEA

If this matter were to proceed to trial, the Government would prove the following facts
beyond a reasonable doubt. The Parties agree that these facts, which do not include all facts
known to the Government and the Defendant, MANUEL ANTONION BALDIZON MENDEZ,
are sufficient to prove the guilt of the Defendant of the above-referenced Information:

Co-conspirator testimony and corroborating evidence would show that, during the time
period of the Information, the Defendant was a political figure in Guatemala. As a politician
known for social welfare programs benefitting the elderly, the Defendant was a trusted political
ally of Alvaro Colom’s campaign in 2007. The Defendant worked to support Colom’s campaign
and frequently introduced Colom during public speaking events. Colom was eventually elected
president of Guatemala. Thereafter, during the 2011 and 2015 election cycles, the Defendant
himself was a presidential candidate in Guatemala. As a campaign supporter and later as a
presidential candidate, the Defendant solicited money to fund those political campaigns.

Co-conspirator testimony and corroborating evidence would show that, among those who

contributed to the campaigns were narcotics traffickers and the Defendant, in collecting money for
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the campaigns, accepted the contributions knowing that those donations (a) were being made by
narcotics traffickers and (b) were the proceeds of narcotics trafficking. For example, in or about
2014 and 2015, the Defendant was provided money that originated from a narcotics trafficker.
Rather than using this money to fund his campaign directly, the Defendant instead used the money
to purchase a condominium in Miami, Florida valued at approximately $800,000, and thereafter
personally donated an equal amount of money to his campaign. The Defendant knew that the
original source of the money used to purchase the real estate was a narcotics trafficker and that the
money itself was proceeds of narcotics trafficking. Thus, in order to disguise the source of the
funds and to conceal that a campaign contribution was being made by a narcotics trafficker, the
Defendant engaged in a circuitous transaction, as opposed to having the money from the narcotics

trafficker go directly into the campaign funds.

ARIANA FAJARDO ORSHAN
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Date: b . 3 . oS

"WALTER M. NORKIN

ASSISTANT STATES ATTORNEY
Date. /O-3-¢, A Si GZ. (Le
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CARLOS LEON, ESQ.
ATTORNEYS FOR DEFENDANT

 

Date: /O “SAE

 

 

DEFENDANT
